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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                  : CASE NO. 1:22-cr-00183-TSC
                                           :
                                           : (JUDGE CHUTKAN)
              v.                           :
                                           :
                                           :
 LYNWOOD NESTER,                           :
                                           :
                      Defendant.           :

                               ORDER OF COURT


AND NOW, on this _________ day of ______________, 2023, upon

consideration of the Motion to Modify Conditions of Pretrial Release to Authorize

Travel Outside the Middle District of Pennsylvania, IT IS HEREBY ORDERED

THAT said motion is GRANTED. Defendant, Lynwood Nester, is permitted to

travel outside the Middle District of Pennsylvania to attend trial in U.S. v. Weyer.

IT IS FURTHER ORDERED THAT the Defendant shall coordinate his travel

with pretrial services.

                                              BY THE COURT:



                                              __________________________
                                              Tanya S. Chutkan
                                              United States District Judge
